                                  UNITED STATES DISTRICT COURT

                                SOUTHERN DISTRICT OF NEW YORK

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OUSSAMA EL OMARI, an individual
and United States Citizen residing in the
State of North Carolina,
                                                               COMPLAINT
                                    Plaintiff,
                                                               Case No.: 1:16-cv-3895
             - against -
                                                               Hon.
RAS AL KHIAMAH FREE TRADE ZONE
AUTHORITY, a/k/a R.A.K. FREE TRADE
ZONE AUTHORITY, a/k/a RAKFTZA,
a corporation organized under the laws of
Ras Al Khiamah, United Arab Emirates, and

KREAB (USA) INC., a corporation
organized under the laws of the State
of New York,

                                     Defendants.
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        NOW COMES OUSSAMA EL OMARI, Plaintiff in the above referenced action, by and

through counsel, MOORE INTERNATIONAL LAW PLLC, as and for his Complaint, states as

follows:

                                        NATURE OF THE ACTION

        1)        This is a suit for damages against the Defendants, jointly and severally, by

Plaintiff, Oussama El Omari (“El Omari”), who was employed as a foreign worker for many

successful and award winning years by the Ras Al Khiamah Free Trade Zone Authority

(“RAKFTZA”), located in Ras Al Khiamah (“RAK”), United Arab Emirates (“UAE”). RAK is

one of seven emirates composing the UAE. El Omari was hired initially in 1997 by the

RAKFTZA, by and through, Sheikh Faisal bin Saqr Al Qassimi (“Sh. Faisal”), and then a written
agreement was entered into the next year on April 1, 1998 (“the Agreement”), hiring El Omari as

Project and Marketing Manager to help create, operate, and promote the Ras Al Khiamah Free

Trade Zone (“RAKFTZ”). 14 years later, El Omari was terminated on May 28, 2012 (“the

Termination Date”), after a smear report on the operation of the RAKFTZ was commissioned

from New York based, Defendant, Kreab (USA) Inc. (“Kreab”), by the new Ruler, H.H. Sheikh

Saud bin Saqr Al Qasimi (“Sh. Saud”). On the Termination Date, El Omari held the position of

CEO and Director General of the RAKFTZA, and had served on the RAKFTZA Board of

Directors for 12 years since 2000. Sh. Faisal was replaced as Chairman of the RAKFTZA by Sh.

Saud the following year in 2013. At the time of his termination, El Omari’s contracted pay was

AED120,000 per month, or expressed in U.S. dollars, was US$32,688 per month.

       2)      El Omari contested his termination in RAK, and exhausted his legal remedies in

RAK, and was unable to invoke the jurisdiction of the RAK Rulers Court to enforce his contact

rights under the terms of the Agreement. After Sh. Faisal was removed as Chairman of the

RAKFTZA, El Omari was, and remains today, persecuted in the RAK Rulers Court, in absentia,

without due process of law.

       3)      El Omari has suffered, inter alia, loss of end of service monies due and owing

under the Agreement, out of pocket expenses, lost earnings from an inability to gain similar

employment, emotional distress, and damage to his reputation.

       4)      El Omari was caught in a Royal family conflict and power play beginning on or

about October 27, 2010, when then Ruler of RAK, H.H. Sheikh Saqr bin Mohammad al Qassimi

(“Sh. Saqr”), died, and his son, Sh. Saud, became Ruler of RAK., who appointed his son, H.H.

Sheikh Mohammed bin Saud bin Saqr Al Qasimi (“Sh. Mohammed”), as Crown Prince, rather

than Sh. Faisal. Sh. Saud began to take steps to consolidate power, and undermine and remove




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his brother, Sh. Faisal, from positions of power in RAK, including the Chairmanship of

RAKFTZA. As a false pretext for removal of Sh. Faisal, Sh. Saud caused the engagement of a

smear report from Kreab on the RAKFTZA operation of the RAKFTZ.

                                          THE PARTIES

       5)      Plaintiff, El Omari, is an individual and citizen of the United States, and is

resident of the State of North Carolina, at 2005 Riviera Ct., Raleigh, North Carolina.

       6)      Defendant, Ras Al Khiamah Free Trade Zone Authority, is an agency or

instrumentality of the RAK, which is a political subdivision of the UAE, a foreign state, within

the meaning of 28 U.S.C. § (b). RAKFTZA is a separate legal person, corporate or otherwise,

and is an organ of a foreign state or political subdivision thereof, or a majority of whose shares

or other ownership interest is owned by a foreign state or political subdivision thereof, and is

neither a citizen of a State of the United States, nor created under the laws of any third country.

       7)      Defendant, Ras Al Khiamah Free Trade Zone Authority, is a corporation created

on May 1, 2000, under Article (5) of Decree No. 5 of 2000, known as “The RAK Free Zone

Law”, by decree of Sh. Saqr, then Ruler of RAK. Under Article (5), the RAKFTZA is

established as an “independent authority” with “its own corporate identity” and “shall enjoy

financial and administrative independence in respect of all its affairs and shall have full capacity

to act”. Under Article (11), the RAKFTZA is managed by a five (5) member Board of Directors,

and, under Article (12), the Board of Directors report to “H.H. the Ruler or Crown Prince and

Deputy Ruler about the Free Zone operations”. Under Article (6), the objectives of the

RAKFTZA are “the setting up, promotion, development, management, administration,

regulation, operation and construction of the appropriate facilities of the Free Zone”. Under

Article (2), three geographical areas were established and created as the “Free Zone”. Under




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Article (3), imports into and exports from, the Free Zone, are exempted from customs and excise

taxes, and companies and individuals are exempted from all taxes for operations conducted

within the Free Zone. El Omari, Sh. Faisal, and three other individuals were appointed to the

initial Board of Directors by another Decree No. 5 in 2000, issued by Sh. Saqr. El Omari

remained on the Board of Directors until the Termination Date. The principal place of business

of RAKFTZA is located at P.O. Box 10055, RAK, UAE. The RAKFTZA has promotion offices

in other countries, set up by El Omari, in Cologne, Germany, Istanbul, Turkey, Mumbai, India,

and until 2015, in New York, for promotion of RAK Free Trade Zone business.

       8)      The office of RAKFTZA in New York, was New York County based RAK Dubai

Business Centre L.L.C., (“RAK Business Centre”), a limited liability company organized on

April 7, 2008, under the laws of the State of New York. The RAK Business Centre was owned

and controlled by RAKFTZA as the sole member. The RAK Business Centre was the alter ego

and agent of RAKFTZA for the purpose of promoting the RAKFTZ in the United States market.

Subsequently, Articles of Dissolution under Section 705 of the New York Limited Liability

Company Law were filed on October 22, 2015, under the authority and personal signature of

Shaikh Ahmad Saqer Mohamed Al Qasemi (“Sh. Ahmad”), the present Chairman of the

RAKFTZA, who replaced Sh. Faisal by decree of Sh. Saud on March 5, 2013. Presently, the

RAK Business Centre remains a juridical person under Section 703(b) of the New York Limited

Liability Company Law, which provides that “Upon dissolution of a limited liability company,

the persons winding up the affairs of the limited liability company’s affairs may … defend suits

….”

       9)      Defendant, Kreab (USA) Inc., is a corporation organized under the laws of the

State of New York, and its principal place of business is located at 515 Madison Avenue, 34th




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Floor, New York, New York. On March 7, 2016, Kreab changed its name from Kreab Gavin

Anderson (USA) Inc., to its present name, Kreab (USA) Inc. According to the New York State,

Department of State, Division of Corporations, the Chief Executive Officer of Kreab (USA) Inc.

is P.M Peje Emilsson, located at Kreab AB, Floragatan 13, Stockholm, Sweden, and the

Principal Executive Office of Kreab (USA) Inc. is located at Strategy XXI Group Ltd., 515

Madison Avenue, 34th Floor, New York, New York. At all times relevant to this complaint,

Andrew Frank (“Frank”), was the Managing Partner of Kreab at the New York office, and

figured prominently in the fraud and termination of El Omari.

                                  JURISDICTION AND VENUE

       10)     This court has diversity jurisdiction pursuant to 28 U.S.C. § 1332. The amount in

controversy is relief requested by Plaintiff, El Omari, of monetary damages for no less than the

amount of Ten Million US Dollars (US$10,000,000).

       11)     This court has subject matter jurisdiction over the RAKFTZA pursuant to 28

U.S.C. § 1330(a), under the commercial activity immunity exception, 28 U.S.C. § 1605(a)(2), to

the Foreign Sovereign Immunities Act, based upon a commercial activity carried on in the

United States by the foreign state, or upon an act performed in the United States in connection

with a commercial activity of the foreign state elsewhere, or upon an act outside the territory of

the United States in connection with a commercial activity of the foreign state elsewhere and that

act caused a direct effect in the United States.

       12)     Venue is proper in this court pursuant to 28 U.S.C. § 1391(b)(2) and (f)(1).

       13)     A company involved in the smear report scheme, The Arkin Group LLC, is a

limited liability company organized under the laws of the State of New York, with its principal

place of business located at 750 Lexington Avenue, 25th Floor, New York, New York, (“TAG”).




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        14)     Another company involved in the smear report scheme is Strategy XXI Holdings,

Inc., d/b/a Strategy XXI Partners, a corporation organized under the laws of the State of New

York, created during scheme on July 11, 2011, with its principal place of business located at 515

Madison Avenue, 16th Floor, New York, New York, (“Strategy XXI”). Frank, the Managing

Partner of Kreab at Kreab’s New York office, is also an employee and/or partner at Strategy

XXI.

        15)     Contacts with the United States by Sh. Saud, include but are not limited to:

                (a) Sh. Saud resided in Ann Arbor, Michigan, and received a B.A. in Economics

                    and Political Science from the University of Michigan, Ann Arbor, Michigan,

                    on or about 1982.

                (b) Sh. Saud was arrested for sexual assault of a hotel maid on criminal charges of

                    Criminal Sexual Conduct in the 3rd and 4th Degrees, in Rochester, Minnesota,

                    on June 10, 2005, during a visit to the Mayo Clinic in Rochester, Minnesota,

                    where his now deceased father, Sh. Saqr, was a patient. The charges were

                    dismissed approximately 6 months later for lack of probable cause. According

                    to the Rochester police report, Sh. Saqr claimed Diplomatic Immunity at the

                    time of his arrest, but the arresting officer reported contacting the U.S.

                    Department of State, and was advised Sh. Saud was not on a list of foreign

                    individuals with Diplomatic Immunity.

        16)     Contacts by RAKFTZA with New York County, a judicial district in which a

substantial part of the events or omissions giving rise to the claim occurred, or a substantial part

of property that is the subject of the action is situated, include but are not limited to:




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(a) On behalf of RAKFTZA, in or about 2008, El Omari traveled to New York

   County to review a suitable New York promotion office location on Madison

   Avenue.

(b) On behalf of RAKFTZA, on April 7, 2008, El Omari, by and through New

   York County counsel, Patton Boggs LLP, 1185 Avenue of the Americas, 30th

   Floor, New York New York, caused the formation of the RAK Dubai

   Business Centre L.L.C., under the laws of the State of New York, with its

   principal office in New York County, with the RAKFTZA being the sole

   member. The RAK Dubai Business Centre was formed as a completely owned

   and controlled company, and was the alter ego, and agent, of RAKFTZA for

   promotion of the RAKFTZ in the United States market, like RAKFTZA’s

   promotion offices in Germany, Turkey, and India. The RAK Dubai Business

   Centre L.L.C. was never fully operational due to the U.S. recession. The RAK

   Dubai Business Centre L.L.C. was dissolved on October 22, 2015, by a

   dissolution filing with the New York Department of State under the authority

   and personal signature of Sh. Ahmad, the present Chairman of the

   RAKFTZA, who replaced Sh. Faisal by decree of Sh. Saud on March 5, 2013.

   The Articles of Dissolution were filed by New York County counsel, Jones

   Day, 222 East 41st Street, New York, New York.

(c) On behalf of RAKFTZA, in or about 2008, El Omari opened a RAK Business

   Centre bank account, at a Bank of America office in New York County. After

   El Omari’s termination in 2012, Sh. Saud’s Advisor, Salem Ali Al Sharhan,




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                  emailed Bank of America’s office in New York County instructing that El

                  Omari’s name be removed from signing privileges.

               (d) On behalf of RAKFTZA, in or about 2008, El Omari hired RAK Business

                  Centre skeletal staff in New York County.

               (e) On behalf of RAKFTZA, from 2010 to 2011, El Omari had email exchanges

                  with Kreab’s New York County office, regarding the TAG White Paper.

               (f) On behalf of RAKFTZA, in 2011, El Omari traveled with RAKFTZA’s in-

                  house UAE legal advisor, Johnson George, to Kreab’s New York County

                  office, to complain of factual and other errors in the draft TAG White Paper.

       17)     The choice of jurisdiction clause under the Agreement is void. Since the

Termination Date, El Omari has been denied basic due process of law in RAK to prosecute or

defend claims under or related to the Agreement, to Wit: Upon termination of El Omari’s

employment on May 28, 2012, El Omari’s UAE residency was illegally terminated on July 10,

2012, under UAE law applicable to foreign workers, which requires as a prerequisite, a signature

by the foreign worker attesting that there are no labor payments outstanding, which El Omari did

not sign, and as such, El Omari has been denied the ability to be freely present in the UAE to

prosecute or defend claims. El Omari has also been denied the basis due process right of a

hearing on his termination and end of services monies due and owing.

               (a) First, El Omari directly requested RAKFTZA pay his contracted end of

                  service monies due, to which there was no response.

               (b) Second, El Omari’s UAE attorneys officially requested a certificate waiving

                  RAKFTZA immunity from suit from the RAK Rulers Court. The Rulers Court




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                  first admitted receiving the waiver request and began its procedure, and then

                  later denied even receipt of the waiver request.

               (c) Third, El Omari wrote directly to Sh. Saud asking for his contracted end of

                  service monies due and owing, to which there was no response.

               (d) Fourth, in response to El Omari’s contesting the lawfulness of his termination

                  and seeking his contracted end of service monies due and owing, the

                  RAKFTZA, after Sh. Faisal was replaced as Chairman, retaliated against El

                  Omari by later asserting unsubstantiated and meritless allegations of

                  wrongdoing by El Omari, and instituted civil and criminal suits against El

                  Omari, in absentia, in the RAK Rulers Court. No proofs have ever been

                  received against El Omari by the Rulers Court in support of any RAK claim or

                  judgment.

                                  FACTUAL BACKGROUND

A. Success of the new RAKFTZ under El Omari beginning in 1997.

       18)     El Omari was born in Morocco, educated at international schools in Morocco and

France, and the U.S., and holds a B.A. in Chemical Engineering and an M.B.A. At all times

relevant to this complaint, El Omari was a U.S. Citizen and had his permanent residence in the

State of North Carolina.

       19)     In March of 1997, El Omari was first hired in RAK, by Sh. Faisal, then Chairman

of the RAKFTZA, under letter authority from Sh. Saqr, to head the pre-RAK Free Trade Zone,

which later came into existence as the RAKFTZ in 2000, under The RAK Free Zone Law, by

Decree No. 5 of Sh. Saqr.




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       20)     The Agreement, dated April 1, 1998, hired El Omari as Project and Marketing

Manager, and included a number of contractual rights, including an unlimited period of service

(Par. 3), a two month advance notice of termination requirement (Par. 5, Sec. A), and an end of

service gratuity, to be calculated under UAE Labour Law No. 8 of 1980, as amended (Par. 10).

The two text languages of the Agreement were English and Arabic (Par. 12). The Agreement text

governed interpretation, and where silent, UAE Labour Law No. 8, as amended, applied to

conditions of service (Par. 13). Contract claims and disputes were to be resolved under

jurisdiction of the RAK civil courts (Par. 14). There is no provision in the Agreement that the

RAKFTZA was immune from suit. Nor was the RAKFTZA granted immunity from suit under

the RAKFTZA establishment clause, Article (5) of The Free Trade Zone Law.

       21)     During the fifteen year period between 1997 and 2012, El Omari reported directly

to, and worked closely with, his direct supervisor, then RAKFTZA Chairman, Sh. Faisal. The

period was characterized by successful growth of the RAKFTZ, the opening of promotion offices

in Cologne, Germany, Istanbul, Turkey, and Mumbai, India, and New York, and award winning

promotion and performance, with El Omari hosting and speaking at international trade zone

conferences held in and out of the UAE. Among other awards, for 3 consecutive years, beginning

in 2006, the RAKFTZ was recognized as the “Best Emerging Free Zone” at the Middle East

Logistics Awards in Dubai, UAE. El Omari received promotions during his contract period, and

on May 1, 2011, El Omari was awarded a new salary increase and promotion package by Sh.

Faisal, and by that point in time El Omari held the posts of CEO & Director General of the

RAKFTZA, and had sat on the RAKFTZA Board of Directors for 12 years.




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B. Kreab (USA) Inc., New York


       22)     Defendant, Kreab (USA) Inc., holds itself out on its website (kreab.com) as a

“small representative office in New York, which mainly focuses on financial and corporate

communications” and serving corporate clients, not government clients, with a “tainted

reputation”:



                      “Our expertise in New York



                      We have a small representative office in New York, which mainly focuses on
                      financial and corporate communications. Together with our global network of
                      offices and affiliated firms, we offer our clients, from the large multinational to the
                      small local firm, the best specialists for their particular needs.


                      Corporate Communications



                      A company or organisation’s reputation is one of the most decisive attributes in
                      terms of how it is perceived by its primary and secondary stakeholders, be it
                      customers, owners, decision makers or employees.

                      A company with a tainted reputation and weak relations with influential stakeholders,
                      whatever the reason, will suffer on the bottom line. We help our clients manage and
                      obtain the desired profile and position on the markets in which they operate. This is
                      crucial to ensure that the business is sustainable and profitable over time.

                      By employing Kreab as a strategic communications advisor, a company or organisation
                      can continue to focus on its core business.



                      Financial Communications



                      The financial market is ultimately a source of capital – the corporate lifeblood.
                      Capital is gained from a range of investors, with whom a company needs to secure
                      solid and good relations. Poor relations with or vague messages to this group of
                      stakeholders may put capital at risk. Increasingly frequently, companies and the
                      financial market have different interpretations which result in unnecessary losses or
                      market fluctuations.



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                       The financial market is also highly regulated with policy makers constantly monitoring
                       its operations. This adds to the need for appropriate relations with a broad range of
                       stakeholders, beyond just investors. When Kreab advises clients on issues, it brings
                       together financial and public affairs communications, including IPOs, deals requiring
                       authority clearance or investments in publicly funded projects.




                       Public Affairs



                       Our experts in public affairs communications help clients manage and build
                       relations with decision and policy makers at all levels – local, regional, national and
                       supranational.

                       Decision makers are faced with opinions and requests at all times. Those who want to
                       make their voice heard need to target decision makers effectively.

                       Through our broad network and extensive experience, we identify what is relevant to
                       decision makers, attract their attention and point out how to contribute to their
                       overarching vision and beliefs. Because understanding who decision makers and policy
                       makers answer to is also key to attaining a share of voice, we always conduct a
                       stakeholder analysis for each client and assignment.”

C. The Arkin Group LLC, New York


       23)    The Arkin Group LLC, holds itself out on its website (thearkingroup.com) with

the acronym, “TAG”, and as “an international risk consulting and intelligence firm” with high

level U.S. “Central Intelligence Agency” background:


              "The Arkin Group (“TAG”) is an international risk consulting and intelligence firm. Our mission
              is to use strategic intelligence and prescient analysis to enable our clients to minimize risks and
              maximize payoffs when making critical business decisions. Founded in May 2000 by New York
              lawyer Stanley Arkin and Jack Devine, former chief of worldwide operations for the Central
              Intelligence Agency, the firm has completed hundreds of assignments in every region of the globe.


              The Arkin Group is distinguished by our personal approach and tailored services. For each
              assignment, we create a unique game plan to achieve the client’s specific goals. While we rely on
              a wide variety of investigative, forensic, communications and security tools, the hallmarks of the
              TAG methodology are sound analysis and well-sourced human intelligence.



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                The Arkin team of men and women hails from the nation’s top universities and graduate programs
                and possesses experience in key U.S. government offices, international institutions and top
                consulting firms. We draw on vast domestic and international networks of area and functional
                experts, including intelligence professionals, law enforcement specialists, diplomats and policy
                makers, industry, business and finance analysts, leading academics, journalists, and specialized
                experts in forensic sciences and security."


D. Strategy XXI Holdings, Inc. d/b/a Strategy XXI Partners, New York

       24)      Strategy XXI Holdings, Inc. d/b/a Strategy XXI Partners, holds itself out on its

Strategy XXI Partners website as “strategic communications and public affairs advisor to

companies, countries and causes”:

    “Protecting, Promoting and Managing Reputations Worldwide

    ABOUT:                                                                     SERVICES:

    Strategy XXI Partners is a trusted strategic communications and public     Communications and Positioning
    affairs advisor to companies, countries and causes.
                                                                              Corporate Responsibility
    We help our clients address complex challenges that affect their
    reputations. They turn to us to promote good news and protect against the Alliance and Stakeholder Engagement
    fall-out from bad news, foster support for policy agendas and help expand
    market share.
                                                                              Governments: Branding, Investment,
                                                                              Tourism, Information
    The staff and senior advisors of Strategy XXI Partners have been
    counselors to C-suite leaders and heads of state. We have made our mark
                                                                              Crisis and Issues Management
    on Capitol Hill, Madison Avenue, Wall Street and civil society.
                                                                                   Risk Assessment and Corporate
    Now, combining local expertise with global perspective and transnational
                                                                                   Reputation
    experience, we assist clients based overseas that face challenges in the U.S.,
    as well as U.S.-based companies and institutions.”
                                                                                   Sustainability Consulting and
                                                                                   Reporting



E. The 2010 death of Sheihk Saqr, appointment of Sheihk Saud as new Ruler of RAK, and
the Commission of a New York Smear Report on the Operations of the RAKFTZ as a
Pretext to Remove Sheihk Saud’s brother, RAKFTZA Chairman, Sheihk Faisal.


       25)      On November 20, 2009, Kreab’s employee, Davis Hodge (“Hodge”) emailed a

U.S. Public Relations Business Proposal (“the Kreab Proposal”), to El Omari, copied to Kreab’s


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employee, Andrew Frank (“Frank”), regarding promotion of the RAKFTZ in the United States

market, without specifying any cost. El Omari operated the RAKFTZA promotion offices

outside the UAE without outside public relations help, and, there was no proposed cost in the

proposal. The Kreab Proposal was not accepted by El Omari.

          26)   On October 27, 2010, Sh. Saqr died, and his successor, then Crown Prince, Sh.

Saud, was appointed Ruler of RAK. Unknown to El Omari at the time, arising out of a Royal

family succession conflict, the new Ruler of RAK, Sh. Saud, began taking steps to consolidate

power and to remove his brother, Sh. Faisal, from positions of power in RAK.

          27)   Amir Handjani (“Handjani”), employed by RAK Petroleum, UAE, had direct

access to Sh. Saud, and on behalf of Sh. Saud, searched for and identified, The Arkin Group

LLC, as the chosen entity to prepare a smear report on the operation of the RAKFTZ, which by

implication, would smear the operating authority, RAKFTZA, and its Chairman, Sh. Faisal.

          28)   TAG, the acronym used on its website, claims to have high level background in

the U.S. Central Intelligence Agency. Later, Handjani would receive the draft TAG White Paper

by email directly from Frank, and Handjani would then forward the draft TAG While Paper by

email to Sh. Saud.

          29)   El Omari did not commission any review of the RAKFTZ from Kreab, TAG or

any other party, and did not know about any review of RAKFTZ operations until the review was

underway. Sh. Saud approved the review, and El Omari had no choice but to cooperate with the

review.

          30)   On October 26, 2010, one day before Sh. Saqr died, Frank sent an email to Sh.

Faisal, copied to El Omari, Handjani, and another Kreab employee, Jessica Levine, to arrange

itinerary plans for a visit to RAK by TAG employee, Mark Christopher (“Christopher”). Frank




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stated Christopher is “putting together the reports and he will have meetings on his own” and

Frank specified with whom in RAK, Christopher would like to meet. Frank stated in this email

that he, Frank, would also be traveling to RAK, and Frank would be joined by another Kreab

employee, Hodge, who would be “meeting” with Christopher. Hodge had earlier submitted the

failed Kreab Proposal in 2009. The positions named in this email, individuals Frank said

Christopher would like to meet, far exceeded the scope of a basic review of RAKFTZ operations,

as indicated by among other positions, the following persons: RAK Investment Authority, RAK

foreign relations, the relationship between RAK and UAE, and activities of Iranian companies.

       31)       On or about January of 2011, about 2 months after Sh. Saud became Ruler of

RAK, Christopher travelled to RAK to conduct field research over a period of approximately 3

weeks. Neither Kreab nor TAG disclosed that TAG was in fact hired by Kreab, and not by the

RAKFTZA. Frank pushed through the TAG review and handled all communication with TAG.

At the time, El Omari still did not know why the TAG review was being conducted, or the scope

of the review.

       32)       In both the forthcoming draft and final versions of the smear report, styled by

TAG as a “White Paper”, (“the TAG White Paper”), TAG falsely stated that TAG was

commissioned by the RAKFTZA to review RAKFTZ operations. TAG, in the methodology

section in both the draft and final version of the TAG White Paper, stated the TAG factual

research was conducted by Internet based research on RAKFTZ operations, but did not disclose

sources, and stated that TAG conducted interviews in RAK, but withheld the names, and

included negative hearsay statements by the unnamed sources. This secret source based fact

research resulted in an unreliable factual basis of the TAG White Paper on its face.




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       33)     In the analysis section of both the draft and final versions of the TAG White

Paper, TAG applied, inter alia, many unspecified legal obligations relating to operation of the

RAKFTZ, and unspecified United States and United Nations legal sanctions law against Iran,

without citing many of the laws or legal provisions, and without stating or analyzing what legal

obligations, if any, applied to RAKFTZ operations. This resulted in an unreliable legal analysis

on the face of the TAG White Paper.

       34)     The resulting draft and final TAG White Paper falsely stated that TAG was

commissioned by the RAKFTZA to review RAKFTZ operations, and on its face, smeared the

RAKFTZ with unreliable, unsubstantiated, and negative legal conclusions, including a heavy

emphasis on alleged Iranian businesses operating within the RAKFTZ in suggested violation of

United States and United Nations sanctions law.

       35)     On March 11, 2011, Frank emailed the Draft TAG White Paper, dated March 10,

2011, to Handjani.

       36)     Also on March 11, 2011, Handjani then forwarded the Draft TAG White Paper

received from Frank, to El Omari, Sh. Faisal, and to Sh. Saud.

       37)     As such, Sh. Saud was kept informed of Kreab’s smear progress by receiving the

Draft TAG White Paper from Handjani, who received it from Frank. This cast the die and locked

up the draft TAG White Paper from El Omari’s efforts to correct fact errors and the overall

negative thrust of the report.

       38)     El Omari and others at the RAKFTZA were alarmed at factual errors and the

overall negative thrust of the Draft TAG White Paper. El Omari and RAKFTZA in-house legal

counsel, Johnson M. George (“George”), prepared responses to the draft TAG White Paper

which were emailed from Johnson to Frank, which in the end resulted in no substantive change.




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       39)     Alarmed, and in an ultimately unsuccessful visit, El Omari and George traveled to

New York to meet with Kreab, and express RAKFTZA concerns about the errors and negative

Draft TAG White Paper. El Omari and George met with 2 Kreab employees, Frank, and Frank’s

supervisor, at the Kreab office in New York.

       40)     On April 25, 2011, Frank delivered the final TAG White Paper by email to El

Omari. The date on the delivered TAG White Paper was a future date, 3 days in the future, April

28, 2011. There were no substantive changes from the draft TAG White Paper.

       41)     On May 1, 2011, Frank sent an email to El Omari stating that Frank was planning

to meet that day with Sh. Saud and Handjani.

       42)     After delivery of the final TAG White Paper, Sh. Saud personally called El Omari

and directed El Omari to pay US$35,000 to Kreab for the TAG White Paper, out of RAKFTZA

funds, over El Omari’s objections, since the RAKFTZA did not commission the TAG White

Paper nor found it acceptable.

       43)     On July 7, 2011, Frank, also an employee and/or partner at Strategy XXI, used a

Strategy XXI email account, and emailed a public relations business proposal from Strategy XXI

to El Omari, with a proposed cost of US$15,000 per month (“the Strategy XXI Proposal”). The

Strategy XXI Proposal used a letterhead with the look and feel of the RAKFTZ logo and

letterhead, which it was unauthorized to use. El Omari did not accept the Strategy XXI Proposal.

Frank attempted to contact Sh. Saud in person at Sh. Saud’s Palace in RAK about the Strategy

XXI Proposal, but Sh. Saud was unresponsive and the meeting did not occur.

F.    The 2012 Termination of El Omari as CEO and Director General of RAKFTZA by
an Advisor to Sh. Saud, while Sh. Faisal is still Chairman of RAKFTZA.

       44)     On January 30, 2012, Sh. Saud issued Decree No. 3, appointing his Advisor,

Salem Ali Al Sharhan (“Al Sharhan”), to oversee the RAKFTZA, without specifying Al



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Sharhan’s powers or duties. El Omari was still CEO and Director General, and Sh. Faisal was

still Chairman of RAKFTZA. El Omari was directed by Sh. Saud to not speak with Sh. Faisal.

       45)     On May 28, 2012, while El Omari was traveling on RAKFTZA business outside

the UAE, Sh. Saud signed and authorized a letter by Al Sharhan, under the same date, requesting

authority to terminate El Omari as CEO and Director General.

       46)     On May 28, 2012, Al Sharhan emailed a letter to El Omari terminating El Omari

from his positions of CEO and Director General of the RAKFTZA, with 1 month notice,

effective June 30, 2012, for the stated reason of “re-structuring the RAKFTZ” (“the Termination

Letter”). The Termination Letter breached the Agreement by 1) not giving the contracted 2

month notice of termination, and 2) failing to pay the contracted end of service gratuity. On the

Termination Date, El Omari held the position of CEO and Director General of the RAKFTZA, at

a pay rate of 120,000 United Arab Emirates Dirham (AED120,000) per month. The AED has

been pegged to the U.S. Dollar since 1997 at an exchange rate of 1 U.S. dollar = 3.671 dirhams

(1 dirham = US$0.2724). On the Termination date, El Omari’s monthly pay in U.S. Dollars,

under this exchange rate, was US$32,688 (120,000 dirham per month ˣ 0.2724 US$ per dirham).

       47)     On May 29, 2012, while still outside the UAE on RAKFTZA business, and per

instructions from Sh. Faisal, El Omari sent a reply email back to Al Sharhan, stating that Al

Sharhan’s Termination Letter was “disapproved” by Sh. Faisal, Chairman of the RAKFTZA, and

that El Omari remained in his positions unless instructed otherwise by Sh. Faisal.

       48)     On July 10, 2012, El Omari’s UAE residency was terminated and had 30 days to

leave the UAE; El Omari did not sign the residency termination document, which under UAE

labor law, is required to be signed by the foreign worker prior to termination of residency. If




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signed, which it was not, the document also would acknowledge no labor payments were

outstanding.

       49)     On July 18, 2012, Sh. Faisal signed a letter of recommendation for El Omari,

stating his employment with the RAKFTZA was from March 1997 to June 30, 2012.

       50)     On December 1, 2012, Sh. Faisal, was still Chairman of the RAKFTZA, and

retained the consulting services of El Omari as an advisor, under an agreement between GDS &

Investment, a UAE corporation, (by El Omari) and the RAKFTZA (by Sh. Faisal), (“the GDS

Agreement”).

G. The 2013 Removal of Sh. Faisal as Chairman of RAKFTZA by Sh. Saud, and
appointment of their younger brother, Sh. Ahmed.

       51)     On March 5, 2013, Sh. Saud issued a decree which removed Sh. Saud’s brother,

Sh. Faisal as Chairman and from the board of the RAKFTZA, and appointed in his place, their

younger brother, Sheikh Ahmed Bin Saqr Al Qasimi (“Sh. Ahmed”), as Chairman of the

RAKFTZA. Sh. Ahmed continues as Chairman to the present date. This public removal by Sh.

Saud of Sh. Faisal, and replacement by his younger brother, Sh. Ahmed, was a disgrace of Sh.

Faisal in front of the tribes of the small emirate of Ras Al Khaimah.

       52)     Under a personally signed letter dated March 17, 2013, Sh. Ahmed, the new

Chairman of RAKFTZA, terminated the 3 month old GDS Agreement, effective that date, citing

false allegations against El Omari, to Wit: “GDS proved gross negligence … resulting in

unjustified financial spending’s [sic] and loss of profit”. False allegations which have never been

documented or otherwise proved in any subsequent RAK Rulers Court civil and criminal cases

filed against El Omari in retaliation.

       53)     Upon advice of his UAE attorneys, El Omari took three recommended steps to

exhaust his remedies under UAE law, to Wit: 1) El Omari wrote to the RAKFTZA asking for



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payment of his end of services gratuity, to which there was no response, 2) El Omar wrote to Sh.

Saud asking for payment of his end of services gratuity, to which there was no response, and 3)

On June 24, 2013, El Omari, by and through his UAE attorneys, submitted a request to the RAK

Rulers Court for a clearance certificate to sue the RAKFTZA, which was first admitted received

by the Rulers Court for processing, and then later the Rulers Court claimed to have never

received the filing.

          54)     On October 22, 2015, the RAKFTZA filed Articles of Dissolution of its New

York promotion office, the RAK Dubai Business Centre, under authorization of and personal

signature of Sh. Ahmed, the present Chairman of the RAKFTZA, which was filed with the New

York Department of State.

          55)     After the TAG White Paper was delivered and his termination from the

RAKFTZA, El Omari has been unable to find similar employment, has suffered out of pocket

expenses, emotional distress, loss of earnings, and damage to his reputation.

          56)     The RAKFTZA, under Sh. Ahmed as Chairman, and the RAK Rulers Court, have

denied El Omari due process of law, and have otherwise made invoking the jurisdiction of the

RAK Rulers Court to resolve any contract claims an impossibility, and thus the contracted choice

of jurisdiction clause in the Agreement is void.

          57)     El Omari now files the present complaint invoking the jurisdiction of this court.

                                        CAUSES OF ACTION

                                              Count I
                (As Against Defendant, Ras Al Khaimah Free Trade Zone Authority)
                                        Breach of Contract

          58)     El Omari repeats the previous paragraphs as if fully and completely restated

herein.




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          59)   El Omari and the RAKFTZA did enter into the Agreement, dated April 1, 1998,

which provided for, inter alia, an indefinite period of labor services, a 2 month notice

requirement prior to termination, and an end of service gratuity to be calculated under UAE

Labour Law No. 8 of 1980, as amended, to be paid upon termination.

          60)   The RAKFTZA did breach the Agreement on May 28, 2012, by: 1) terminating

the Agreement with only 1 month notice with an effective date of June 30, 2012, and 2) failing to

pay any end of service gratuity under UAE Labour Law No. 8 of 1980, as amended, all of which

remains due and owing.

          61)   The choice of jurisdiction clause in the Agreement for resolving claims and

disputes under the Agreement is void as an impossibility and violates due process.

          62)   All to the injury of El Omari.

                                           Count II
                           (As Against Defendant, Kreab (USA) Inc.)
                                            Fraud

          63)   El Omari repeats the previous paragraphs as if fully and completely restated

herein.

          64)   Kreab (USA) Inc.’s fraudulent scheme was composed of acts and omissions

misrepresenting material facts about the commissioning, preparation, purpose, and payment of a

false smear report (the TAG White Paper), knowledge of the falsity of the TAG White Paper on

its face and as applied to the facts, knowledge of and engaging in the scheme, the reasonable

reliance by El Omari and others on Kreab’s acts, being a proximate cause of termination of the

Agreement, and injury to El Omari:

                (a) Kreab, by and through its employee and/or partner, Andrew Frank, engaged in

                   a fraudulent scheme after Kreab submitted an unsuccessful public relations




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   proposal to the RAKFTZA for the United States market on November 20,

   2009 (the Kreab Proposal), where, Kreab did cause the preparation and

   delivery of a false smear report on the operations of the RAKFTZ, to

   fraudulently generate demand for a second and more lucrative public relations

   proposal for the United States market (the Strategy XXI Proposal), to repair

   the anticipated tainted reputation of the RAKFTZ to be caused by the false

   smear report.

(b) Kreab, by and through Andrew Frank, did cause the commission of The Arkin

   Group LLC (TAG) to prepare and deliver the smear report on RAKFTZ

   operations, and Frank did deliver the TAG White Paper on April 25, 2011, for

   which Kreab was paid a US$35,000 fee, and Kreab knew the TAG White

   Paper falsely stated that TAG’s services were commissioned by the

   RAKFTZA, a falsity on its face, being a report not commissioned by El

   Omari, CEO & Director General of the RAKFTZA, and the TAG White Paper

   was otherwise false and misleading in its facts and negative analysis.

(c) Kreab, by and through Andrew Frank, after delivering the TAG White Paper

   to the RAKFTZA on April 25, 2011, did cause the Kreab Proposal to be

   resubmitted to the RAKFTZA, in the form of the Strategy XXI Proposal on

   July 7, 2011, for a proposed fee of US$15,000 per month.

(d) El Omari and others at the RAKFTZA reasonably relied on Kreab’s acts to be

   truthful.

(e) The TAG White Paper was a proximate cause of El Omari’s termination from

   the RAKFTZA, and subsequent injuries to El Omari.




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       65)       All to the injury of El Omari.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, Oussama El Omari, seeks the following Relief:

As to Count I

       1)       US$10,000,000 in compensatory and consequential damages:

                 (a) end of service monies due and owing,

                 (b) out of pocket expenses,

                 (c) lost earnings,

                 (d) emotional distress,

                 (e) damage to reputation,

       2)       Punitive damages,

       3)       Interest,

       4)       Attorney fees and expenses, and court costs, and

       5)       Such further and other relief as the Court deems just and proper.

As to Count II

       1)       US$10,000,000 in compensatory and consequential damages:

                 (a) end of service monies due and owing,

                 (b) out of pocket expenses,

                 (c) lost earnings,

                 (d) emotional distress,

                 (e) damage to reputation,

       2)       Punitive damages,

       3)       Interest,




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      4)   Attorney fees and expenses, and court costs, and

      5)   Such further and other relief as the Court deems just and proper.



Dated: New York, New York
       May 25, 2016



                                                   MOORE INTERNATIONAL LAW PLLC.


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